Case 1:20-cr-00178-TSE Document 144-1 Filed 03/14/22 Page 1 of 6 PageID# 1097




                        Exhibit 1
Case 1:20-cr-00178-TSE Document 144-1 Filed 03/14/22 Page 2 of 6 PageID# 1098


                                                                              35
 1               How are you doing now, Ms. Foster?

 2               THE DEFENDANT:     I'm okay.

 3               THE COURT:    I can't hear you.

 4               THE DEFENDANT:     I'm feeling better.

 5               THE COURT:    Good.     Use that microphone, please.       Do

 6    you have water there, Ms. Foster?

 7               THE DEFENDANT:     Yes, I do.

 8               THE COURT:    All right.      I've told you what the

 9    government must prove beyond a reasonable doubt if you persist

10    in a plea of not guilty with respect to Count 1 of the

11    indictment.

12               Do you understand that?

13               THE DEFENDANT:     Yes, Your Honor.

14               THE COURT:    And do you understand that by pleading

15    guilty you give up the right to compel the government to prove

16    all of that beyond a reasonable doubt?

17               THE DEFENDANT:     Yes, Your Honor.

18               THE COURT:    Now, Ms. Foster, did you do what's

19    charged in Count 1 of the superseding indictment, that is, did

20    you engage in a conspiracy to commit wire fraud or bank fraud?

21               THE DEFENDANT:     Yes, Your Honor.

22               THE COURT:    Using the microphone, Ms. Foster,

23    because I need to hear what you say.         Tell me in your own

24    words what you and any co-conspirators did.

25               THE DEFENDANT:     Um, well, I moved to Fairfax to have


                                       Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                         EASTERN DISTRICT OF VIRGINIA
Case 1:20-cr-00178-TSE Document 144-1 Filed 03/14/22 Page 3 of 6 PageID# 1099


                                                                            36
 1    a better life for my children when they were 9 and 16 and in

 2    the process, I got really sick and ill and couldn't work and

 3    my job was 100 percent commission.        So my husband wasn't

 4    working and he came up with the idea to, I guess, do wire

 5    fraud, bank fraud, and like other stuff.

 6                 THE COURT:   Can you tell me a little detail what it

 7    is that you actually did?      In other words, with respect to

 8    wire fraud and bank fraud, what did you do?

 9                 THE DEFENDANT:   I provided the names and the

10    identification information for him to be able to open up the

11    accounts.

12                 THE COURT:   Bank accounts, is that right?

13                 THE DEFENDANT:   Yes, Your Honor.

14                 THE COURT:   I take it these are names and

15    identifiers you knew from your work as a realtor?

16                 THE DEFENDANT:   Yes.

17                 THE COURT:   All right.   And what was to be done with

18    this name and identification information that you gave your

19    co-conspirator.

20                 THE DEFENDANT:   To open up bank accounts and he was

21    going to deposit checks in and see if they cleared for -- with

22    the money.

23                 THE COURT:   And where were these checks to come

24    from?

25                 THE DEFENDANT:   That part I don't know.      I don't


                                     Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                         EASTERN DISTRICT OF VIRGINIA
Case 1:20-cr-00178-TSE Document 144-1 Filed 03/14/22 Page 4 of 6 PageID# 1100


                                                                            37
 1    know the details of everything.       I just know my position.

 2                THE COURT:   All right.    What else did you do, apart

 3    from giving a co-conspirator names and addresses, personal

 4    identifying information, for the purpose of establishing bank

 5    accounts?

 6                THE DEFENDANT:    I would verify information for him.

 7                THE COURT:   Verify what information?

 8                THE DEFENDANT:    Let's say he applied for something

 9    and they need verification or whatever he applied for, let's

10    say a loan or a credit card or something, and I would verify

11    that -- where he worked at, or he's been living somewhere for

12    a certain time.

13                THE COURT:   Now, did there come a time when you

14    served as a realtor for people?

15                THE DEFENDANT:    Yes, Your Honor.

16                THE COURT:   And is that how you obtained personal

17    identifying information that you gave to your co-conspirator?

18                THE DEFENDANT:    No, it was more of the timeshare,

19    which I'm still a realtor in that process but it's the

20    timeshare information.

21                THE COURT:   All right.    And did you know that he was

22    using that personal identifying information of other people to

23    establish bank accounts?

24                THE DEFENDANT:    In the beginning, Your Honor, I

25    didn't know anything.     And then after I found out I assisted.


                                     Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                         EASTERN DISTRICT OF VIRGINIA
Case 1:20-cr-00178-TSE Document 144-1 Filed 03/14/22 Page 5 of 6 PageID# 1101


                                                                            38
 1                THE COURT:   All right.    And after you found out you

 2    say you assisted, what did you do to assist?

 3                THE DEFENDANT:    I just gave him access to the names.

 4                THE COURT:   And did he obtain or did he take steps

 5    to have money deposited to those fake accounts?

 6                THE DEFENDANT:    Yes, he tried.

 7                THE COURT:   And was any of that money given to you?

 8                THE DEFENDANT:    No, I never got any money.

 9                THE COURT:   Well, I take it you had to pay rent and

10    buy food.

11                THE DEFENDANT:    I was working, but I just wasn't

12    working every single day.      In real estate it's a commission,

13    so whatever you did last month that's what you get paid for

14    the next month, but I got behind because I wasn't working as

15    much.

16                THE COURT:   All right.    Are you aware that your

17    co-conspirator would obtain credit cards on the basis of the

18    personal identifying information that you provided?

19                THE DEFENDANT:    Yes, Your Honor.

20                THE COURT:   And what was done with those credit

21    cards, if you know?

22                THE DEFENDANT:    I think he bought things that we

23    needed:   Food, clothing, things like that.

24                THE COURT:   All right.    Now, Ms. Foster, I'm going

25    to have Ms. Cuellar tell the Court what the government would


                                     Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                         EASTERN DISTRICT OF VIRGINIA
Case 1:20-cr-00178-TSE Document 144-1 Filed 03/14/22 Page 6 of 6 PageID# 1102


                                                                            39
 1    prove were this matter to go to trial.        Listen very carefully

 2    to what Ms. Cuellar says because at the conclusion I will ask

 3    you whether it's true and accurate in all respects.

 4                Do you understand that?

 5                THE DEFENDANT:    Yes, Your Honor.

 6                THE COURT:   All right.    Ms. Cuellar, what would the

 7    government prove were this matter to go to trial?

 8                MS. CUELLAR:    Your Honor, if this matter had gone to

 9    trial, the United States would have proven the following facts

10    beyond a reasonable doubt:

11                At all times relevant to the incident offense, the

12    defendant resided within the Eastern District of Virginia and

13    was married to Marcus Foster.       From on or about August 8,

14    2017, to on or about August 5, 2019, the defendant was

15    employed by company A, a company that operated a timeshare

16    program.    The defendant worked in company A's office in

17    Washington, D.C.

18                In or around January 2017, the defendant's husband,

19    who I'll refer to as Marcus, incorporated company B as a real

20    estate consulting and transaction company with an address in

21    Maryland.   The defendant and Marcus used company B in

22    furtherance of the fraud described.

23                From in or around 2018 through in or around July

24    2019 in the Eastern District of Virginia and elsewhere --

25                THE COURT:   I think you misread that.       Would you say


                                     Tonia M. Harris OCR-USDC/EDVA 703-646-1438
                         EASTERN DISTRICT OF VIRGINIA
